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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11    RICHARD DIAZ,                           Case No. 8:19-cv-02499-CJC-MAA
  12                       Petitioner,
              v.                                JUDGMENT
  13
  14    JOHNSON, Warden,
  15                       Respondent.
  16
  17         Pursuant to the Order Accepting Report and Recommendation of the United
  18   States Magistrate Judge,
  19         IT IS ORDERED AND ADJUDGED that the Petition is denied and the
  20   action is dismissed with prejudice.
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  22   DATED: November 24, 2021
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  24                                     ____________________________________
                                         CORMAC J. CARNEY
  25                                     UNITED STATES DISTRICT JUDGE
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